        CASE 0:21-cr-00261-PAM-ECW Doc. 47 Filed 09/07/22 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                          Criminal No. 21-261 (PAM/ECW)

 UNITED STATES OF AMERICA,                     )
                                               )
                      Plaintiff,               )
                                               ) GOVERNMENT’S SENTENCING
               v.                              ) MEMORANDUM
                                               )
 Jermaine Dontae Morris,                       )
                                               )
                      Defendant.               )
                                               )
                                               )

      The United States of America, by and through its attorneys, Andrew M. Luger

United States Attorney for the District of Minnesota, and Justin A. Wesley, Assistant

United States Attorney, hereby respectfully submits its memorandum and position on

sentencing as to defendant Jermaine Dontae Morris.

                                    BACKGROUND

      A.     Factual Background

      On September 30, 2021, members of the Hennepin County Sheriff’s Office Violent

Offender Task Force (VOTF) attempted to stop a vehicle for traffic violations. (DCD 42 ¶

7) (“PSR”). The driver (Morris), did not stop and drove away at a fast rate of speed. (PSR

¶ 7). Deputies followed the vehicle. (PSR ¶ 7). Morris eventually parked, got out, and fled

on foot. (PSR ¶ 7). Morris ran into an apartment building lobby where he tripped and fell

to the ground. (PSR ¶ 7). The deputies were able to catch up to Morris and apprehend him,

which is when they recovered a firearm from Morris’ waistband. (PSR ¶ 7). The defendant
        CASE 0:21-cr-00261-PAM-ECW Doc. 47 Filed 09/07/22 Page 2 of 3




was prohibited from possessing firearms based on his history of felony convictions. (PSR

¶¶ 9, 38-41).

       B.       Presentence Report and Guidelines Calculation

       On March 15, 2022, Morris pled guilty to Count 1 of the Indictment, felon in

possession of a firearm. (PSR ¶ 2, DCD 27).

       The PSR concluded that the advisory Guideline range is 100 to 120 months’

imprisonment based upon a total offense level of 25 and a criminal history score of V. (PSR

¶ 79). As part of the plea agreement, the parties agreed that no other Chapter Three

adjustment applied other than he potential reduction for acceptance of responsibility.

Therefore, the United States believes that the applicable advisory Guideline range should

be 70-87 months’ imprisonment based on a total offense level of 21 and a criminal history

score of V.

                             POSITION ON SENTENCING

       The issue before the Court is what constitutes a reasonable sentence considering the

factors enumerated in Title 18, United States Code, Section 3553(a). In fashioning a

sentence, Section 3553(a) requires the Court to consider the nature and circumstances of

the offense; the history and characteristics of the defendant; the need for the sentence to

reflect the seriousness of the offense; the need for deterrence; the need to protect the public

from further crimes of the defendant; and the need to avoid unwarranted sentencing

disparities. 18 U.S.C. § 3553(a).




                                              2
         CASE 0:21-cr-00261-PAM-ECW Doc. 47 Filed 09/07/22 Page 3 of 3




       A.      Nature of the Offense

       The nature of the defendant’s offense is serious. He has a serious felony history and

nevertheless possessed a firearm.

       B.      The Defendant’s History and Characteristics

       Morris has four adult felony convictions. (PSR ¶ 38-41). Morris had a caring yet

strict upbringing. (PSR ¶ 53). However, he has suffered some mental health and substance

abuse issues. (PSR ¶¶ 60, 61, 63-66).

                                       CONCLUSION

       For all the foregoing reasons, the United States respectfully requests the Court first

take the advisory guidelines into account as the starting point of its analysis, then render

its final determination in light of all of the factors set forth in 18 U.S.C. ' 3553(a) relevant

here, including all filings in this case.

                                                   Respectfully submitted,

Dated: September 7, 2022                           ANDREW M. LUGER
                                                   United States Attorney

                                                   /s/   Justin A. Wesley
                                                   BY: JUSTIN A. WESLEY
                                                   Assistant U.S. Attorney
                                                   Attorney ID No. 0389189




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